Case 1:17-cv-01194-JDW Document 395 Filed 09/16/22 Page 1 of 5 PageID #: 17396




                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF DELAWARE

 MICROCHIP TECHNOLOGY                               )
 INCORPORATED,                                      )
                                                    )
                   Plaintiff,                       )
                                                    )
         v.                                         ) C.A. No. 17-1194-JDW
                                                    )
 APTIV SERVICES US, LLC,                            )
                                                    )
                   Defendant.                       )


 MICROCHIP TECHNOLOGY INCORPORATED’S UNOPPOSED MOTION TO SEAL
      AND REDACT LIMITED PORTIONS OF THE TRIAL TRANSCRIPT

       Pursuant to Local Rule 5.1.3, Plaintiff Microchip Technology Inc. (“Microchip”)

respectfully moves to redact certain confidential information in the unredacted versions of

Volumes 3, 5, and 6 of the Trial Transcript. Microchip moves to redact only a very narrow set of

sensitive financial information contained in the transcripts. The proposed redactions are included

in attached Exhibits 1–3 on the following Volumes/pages:

              •   Volume 3 (Ex. 1): pages 296 (7 words), 297 (1 word), 300 (3 words), 326 (1

                  word), 327 (2 words), 342 (2 words), 346 (2 word), 347 (1 word), 355 (4 words)

              •   Volume 5 (Ex. 2): page 18 (1 word)

              •   Volume 6 (Ex. 3): pages 24 (3 words), 25 (1 word)

       Counsel for Plaintiff Microchip has conferred with counsel for Defendant Aptiv, and

Aptiv does not oppose Microchip’s motion to seal (nor does it support or join in the motion).

I.     Legal Standard

       The Third Circuit has held that “the common law presumes that the public has a right of

access to judicial materials,” but that presumption may be overcome by showing that “the
Case 1:17-cv-01194-JDW Document 395 Filed 09/16/22 Page 2 of 5 PageID #: 17397




material is the kind of information that courts will protect” and “that disclosure will work a

clearly defined and serious injury to the party seeking closure,” such that “the interest in secrecy

outweighs the presumption” of public access. See In re Avandia Mktg., Sales Practices & Prods.

Liab. Litig., 924 F.3d 662, 672, 678 (3d Cir. 2019) (internal quotation marks and citations

omitted).

II.    Argument

       Microchip moves to redact only a very narrow set of sensitive financial numbers in the

trial transcripts, and the redacted versions contain all but twenty-nine words of the entire

unredacted transcript. Thus, the only content that Microchip seeks to withhold from the public

record are those twenty-nine redacted words, which consist of non-public part prices,

costing/profit numbers, revenue numbers, and numbers representing the unit volume of sales.

       A.      The information Microchip seeks to seal is the kind of information
               courts will protect.

       “Trade secrets or other confidential research, development, or commercial information

are the type of information that courts will protect.” Avco Corp. v. Turner, C.A. No. 2:20-cv-

04073-JDW, 2021 U.S. Dist. LEXIS 149244, at *8 (E.D. Pa. Aug. 9, 2021). Here, as set forth in

the concurrently-filed Declaration of Jared Crop (the “Crop Declaration”), Microchip seeks to

seal only specific pricing, costing, and profit numbers which are commercial trade secrets and

business intelligence that Microchip has taken steps to protect, and are not publicly available.

Crop Declaration, ¶ 5; see Leucadia v. Applied Extrusion Techs., Inc., 998 F.2d 157, 166 (3d Cir.

1993) (“Documents containing trade secrets or other confidential business information may be

protected from disclosure.”); Wickens v. Rite Aid Hdqtrs Corp., C.A. No. 19-2021, 2021 U.S.

Dist. LEXIS 239932, at *3 (M.D. Pa. Feb. 23, 2021) (granting motion to seal plaintiff’s

“sensitive, non-public financial information”). The information sought to be sealed includes


                                                     2
Case 1:17-cv-01194-JDW Document 395 Filed 09/16/22 Page 3 of 5 PageID #: 17398




only the exact figures themselves, and does not include the surrounding context, which is all that

is necessary to understand the testimony. Compare Unredacted Transcript with Redacted

Transcript. Thus, the information Microchip requests to seal is “the kind of information that

courts will protect.” In re Avandia, 924 F.3d at 678.

        B.      Disclosure of the information that Microchip seeks to seal will work a
                clearly defined and serious injury to Microchip.

        Disclosure of the unredacted Trial Transcripts would “work a clearly defined and serious

injury to the party seeking closure.” In re Avandia Mktg., 924 F.3d at 672. These numbers

represent sensitive financial information related to certain products that Microchip currently sells

and has sold in the past. Crop Declaration, ¶ 5. Microchip takes efforts to protect these numbers

from public disclosure because they represent sensitive business intelligence. Id. The disclosure

of this information would result in irreparable damage to Microchip’s business. Id. ¶ 6. In

particular, Microchip’s specific quotations and pricing are covered by NDAs and contracts that

specifically prohibit disclosure. Id. ¶ 7. In the market related to the products at issue in this

lawsuit, Microchip quotes pricing to Tier1 suppliers who then sell their products to the OEM

auto manufacturers. Id. In almost all cases, Microchip is prohibited from providing its agreed

Tier1 pricing (Microchip’s customer’s pricing) to the Tier1’s end customers (OEM auto

manufacturers) because doing so would damage the Tier1’s business. Id.

        Microchip’s public disclosures never disclose specific product or product family revenue

or profits (including for the products at issue in this lawsuit), and doing so will cause damage to

Microchip’s market valuation. Id. ¶ 8. At no time does Microchip provide its product

profitability, cost, or revenue details to its customers, partners, or shareholders, as doing so could

cause severe damage to Microchip’s business. Id. Although Microchip’s product “List” price is

public, each customer is given a specific quotation aligned to that specific product and piece of


                                                       3
Case 1:17-cv-01194-JDW Document 395 Filed 09/16/22 Page 4 of 5 PageID #: 17399




business (including for the products at issue in the Lawsuit). Id. ¶ 9. There is significant variation

between the prices provided to different customers, and providing relative reference points to the

customer’s quotations against Microchip’s true average for the same product will do irreparable

damage to Microchip’s relationship with each customer. Id.

       Furthermore, providing customers with Microchip’s true profitability will have a large

negative impact on Microchip’s future profits, as each customer could use that information to

demand price reductions. Id. ¶ 10. With respect to the product line at issue in this lawsuit, this

product line has profits that exceed Microchip’s average due the large investment in developing

the intellectual property required for this business. Id. If Microchip’s confidential profitability on

the products at issue in this lawsuit is made public (and thus available to Microchip’s

competitors), those competitors may be more likely to enter the market in which they previously

had no insight. Id. ¶ 11. For example, if Microchip’s historical pricing is available to its

competitors, it will allow them to quote much more aggressively and effectively against

Microchip on new business, resulting in Microchip losing many future contracts and the resulting

revenue. Id.

       For the foregoing reasons, the specific numbers Microchip seeks to redact from the public

transcript are trade secrets and “confidential business information” that may be protected from

public disclosure. Leucadia, 998 F.2d at 166; see Kelly v. Realpage, Inc., C.A. No. 19-01706-

JDW, 2020 U.S. Dist. LEXIS 255199, at *3 (E.D. Pa. Aug. 5, 2020) (granting motion to seal

where “disclosure of the information could provide competitors with information about

Defendants’ business practices that the competitors could use to Defendants’ detriment”).

       C.      Microchip’s interest in secrecy outweighs the presumption of public
               access.

       Microchip’s requested redactions are very narrow in scope, including only twenty-nine


                                                      4
Case 1:17-cv-01194-JDW Document 395 Filed 09/16/22 Page 5 of 5 PageID #: 17400




isolated numbers out of six days of testimony. Redacting the trial transcripts as proposed will

not interfere with the public’s right of access to judicial proceedings, because the limited nature

of the redactions will enable the public to fully understand the testimony. The specific figures at

issue here are not necessary to understand the testimony. See Wickens v. Rite Aid Hdqtrs Corp.,

C.A. No. 19-02021, 2021 U.S. Dist. LEXIS 239932, at *6 (M.D. Pa. Feb. 23, 2021) (granting

motion to seal, and holding that in light of “the narrow scope of the parties’ request,” the parties

had demonstrated that their “interest in secrecy outweighs the presumption of public access”).

III.   Conclusion

       Accordingly, Microchip respectfully requests that the Court enter redacted Volumes 3, 5,

and 6 of the Trial Transcript (Exs. 1–3) and maintain only these redacted versions as public

documents.


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